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                Exhibit B
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Bob Dylan Lawsuit: Dylanologists, Accuser’s Lawyer
Spar Over 1965 Whereabouts
“It is almost impossible to find one week – let alone six – that spring when Dylan could have been staying
at the Chelsea Hotel,” says one Dylan expert. “The claims were vetted…and we did our research,”
counters the accuser’s attorney

By ANDY GREENE




Bob Dylan on April 29th, 1965 after arriving in England.
Evening Standard/Getty Images




Earlier this week, a Greenwich, Connecticut woman sued Bob Dylan, claiming that he
sexually abused her over a six-week period at New York’s Chelsea Hotel in 1965 when she
was 12 years old. She is identified only as “J.C.” in papers filed with the Supreme Court
of the State of New York.
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“

"Between April and May of 1965 the defendant, Dylan, exploited his status as a musician
by grooming J.C. to gain her trust,” reads the suit, “and obtain control over her as a part of
his plan to sexually molest and abuse J.C.”

A representative for Dylan told Rolling Stone that “the 56-year-old claim is untrue and will
be vigorously defended.”

In the days since the suit became public, Dylan experts have pointed out that the timeline
of crimes allegedly committed in New York over those six weeks is hard to reconcile with
the historical record. Dylan was overseas for the entire month of May 1965, according to
contemporaneous accounts and the work of subsequent biographers and scholars like
Clinton Heylin and Anne Margaret Daniel. He spent significant time in April playing
acoustic gigs in West Coast cities: Berkeley, California (April 3rd), Vancouver, British
Columbia (April 9th), Portland, Oregon A(April        24th) and Seattle, Washington (April 24th).
                                         D V E RT I S E M E N T




         Bob Dylan Arrives inBob
                              England   / Airport
                                 Dylan Accused of Press  Conference
                                                  Sexually             (April 1965)
                                                           Abusing 12-Year-Old Girl in[RARE
                                                                                       1965 UN…

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On April 25th, as documented in the clip above shot by documentarian D.A. Pennebaker’s
camera crew, he left from Seattle for his Don’t Look Back tour in the U.K., where he was
shadowed throughout by Pennebaker and his crew. The tour began April 30th in Sheffield,
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England and wrapped up May 10th in London at the Royal Albert Hall, but Dylan didn’t
                                                                                             Subscribe
return to the U.S. until June, according to contemporaneous documentation of his
England and wrapped up May 10th in London at the Royal Albert Hall, but Dylan didn’t
return to the U.S. until June, according to contemporaneous documentation of his
schedule. After the tour, Dylan headed to Portugal for a vacation with his future wife, Sara
Lownds. They returned to London shortly before Dylan’s 24th birthday on May 24th, and
he was hospitalized at St. Mary’s Hospital in Paddington after coming down with an illness
on the trip.

The only window he could have been in New York throughout April and May 1965 was a
short period of time in mid-April. “If Dylan was in New York in mid-April, it was for no
more than a day or two,” says Clinton Heylin, author of the recent book The Double Life Of
Bob Dylan : A Restless, Hungry Feeling (1941-1966) and a leading Dylan scholar.
“Woodstock was where he spent most of his time when not touring. And if he was in NYC,
he invariably stayed at his manager’s apartment in Gramercy, not the Chelsea.”

“It is almost impossible to find one week — let alone six — that spring when Dylan could
have been staying at the Chelsea Hotel,” he adds.

The possibility remains that J.C. is misremembering the exact period of time when the
alleged offense took place, and Dylan did live at the Hotel Chelsea later in the year and in
early 1966 with Lownds and their newborn son Jesse.
J.C. is represented by attorneys Daniel W. Isaacs and Peter J. Gleason. Gleason told the
Huffington Post, “We stand by the pleading.” Isaacs echoed the sentiment in an e-mail to
Rolling Stone. “The complaint speaks for itself,” he wrote, “and our allegations shall be
proven in the appropriate venue: A court of law.”

“There are dates that he wasn’t touring for several weeks in April and this will all come out
at that appropriate time,” Isaacs told Page Six. “The claims were vetted before the case was
filed and we did our research. It’s our position that the evidence will establish that he was
in New York during the relevant time period.”

In This Article: Bob Dylan

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